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  From:            Tim Sweeney                @epicgames.com>
  Sent:            Fri, 7 Aug 2020 01:35:16 +0000(UTC)
  To:              Phil Spencer        @microsoft.com>
  Subject:         Re: Apple


  Totally understood! I gather there's a lot going on at Microsoft nowadays.•Anyway, you'll enjoy the
  upcoming fireworks show.

  Tim


         On Aug 6, 2020, at 9:20 PM,Phil Spencer               @microsoft.com> wrote:



         I owe you a bunch of things and I'm behind. I apologize for that, just a lot going on but that's not an
         excuse. You've obviously seen our Samsung announce and now our back and forth with Apple. At the
         highest levels of MS we are committed to pushing on these policies and continuing to expand our
         console platforms capabilities. You can chime in as you feel comfortable. But I did want to just let you
         know that I have your point on xCloud on other consoles (haven't given up), F2P outside of Gold (we will
         get there and I want to partner with you) and our Store entitlement ideas as items I'm going to review
         with you to make progress. I'm committed to that, just behind.

         Hope you are well,

         Phil




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